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 1                                                 THE HONORABLE THOMAS S. ZILLY

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 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8

 9    BUNGIE, INC.,                                No. 2:21-cv-00811

10                       Plaintiff,                PLAINTIFF BUNGIE, INC.’S TRIAL
                                                   BRIEF
11            v.

12    AIMJUNKIES.COM; PHOENIX DIGITAL
      GROUP, LLC; DAVID SCHAEFER; JORDAN
13    GREEN; JEFFREY CONWAY; and JAMES
      MAY,
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                         Defendants.
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      BUNGIE’S TRIAL BRIEF                                          Perkins Coie LLP
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 1            Plaintiff Bungie, Inc. (“Bungie” or “Plaintiff”) respectfully submits this trial brief:

 2                                    I.      STATEMENT OF THE CASE
 3            Bungie asserted nine claims against Defendants for their development and sale of cheat

 4   software for Bungie’s Destiny 2 and Destiny 2: Beyond Light1 video games (“Cheat Software”).

 5   Dkt. Nos. 1, 34. This Court referred six claims to arbitration, where arbitrator Judge Ronald Cox

 6   (Ret.) found Defendants liable for circumventing technological measures and trafficking in

 7   circumvention technology in violation of the DMCA, breach of contract, tortious interference, and

 8   violation of the Washington Consumer Protection Act, and awarded Bungie damages and

 9   injunctive relief. Dkt. No. 89-1 (“Final Award”). This Court confirmed the arbitration award on

10   June 13, 2023. Dkt. No. 140.

11            Binding factual findings from the confirmed Final Award, and facts admitted by both

12   parties in this case, significantly narrow the issues for trial. These binding factual findings and

13   admitted facts include, but are not limited to:

14                     Bungie owns copyrights in Destiny 2 and Destiny 2: Beyond Light;

15                     Defendant James May reverse engineered Destiny 2 to develop the cheat software

16                      for Destiny 2 that the remaining Defendants sold on AimJunkies.com (the “Cheat

17                      Software”);

18                     May did so in concert with and for the benefit of the other Defendants;

19                     Defendants Schaefer, Green, and Conway were equal 1/3 owners in Defendant

20                      Phoenix Digital Group, LLC, which distributed the Cheat Software through

21                      AimJunkies.com; and

22                     To operate, the Cheat Software necessarily creates (a) unauthorized copies of

23                      Destiny 2 code, and (b) unauthorized derivative works based on Destiny 2.

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26             Unless otherwise specified, Destiny 2 and Destiny 2: Beyond Light shall be referred to collectively as
     “Destiny 2.”

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 1            Based on these facts—which are stipulated or have binding preclusive effect in this case—

 2   very little remains to be found at trial to find Defendants liable on Bungie’s only remaining claim

 3   for copyright infringement.2 Bungie asserts three theories of copyright infringement: direct,

 4   contributory, and vicarious. Bungie seeks at least $43,210 in damages in connection with this

 5   claim, as well as Bungie’s reasonable attorneys’ fees and costs, and permanent injunctive relief.

 6            May asserted four counterclaims and Phoenix Digital also asserted a counterclaim; the

 7   Court dismissed all except one with prejudice on summary judgment. Dkt. No. 201. May’s one

 8   remaining counterclaims alleges that Bungie violated the anticircumvention provision of the

 9   Digital Millennium Copyright Act (17 U.S.C. § 1201) (“DMCA”).

10                                        II.      STATEMENT OF EVIDENCE
11   A.       Bungie and Destiny 2
12            Destiny 2 is a successful shared-world first-person shooter video game. Originally released

13   in September 2017, Destiny 2 is now free-to-play and enjoyed by an estimated player base of over

14   30 million players. Bungie released Destiny 2: Beyond Light, one of its paid expansions, on

15   November 10, 2020. Bungie owns all rights, title, and interest in the copyrights in Destiny 2

16   including its computer software and the audiovisual works that software creates, which are the

17   subject of four U.S. copyright registrations. TX 1-4.

18            Among other things, Bungie’s copyrighted computer software consists of data structures

19   that correspond to certain attributes of Destiny 2, including, for example, player positioning (the

20   locations of players and non-player characters) and rendering (code that determines what players

21   see from their characters’ position). The data structures provide a precise layout for individual

22   pieces of data stored and organized in a computer’s memory, so that the game functions as

23   intended. Bungie’s copyrighted computer software for Destiny 2 includes what is commonly

24   referred to as the Destiny 2 “game engine.”

25

26            2
                  Bungie has elected not to pursue its trademark infringement or false designation of origin claims at trial.

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 1            Bungie will rely on two technical experts at trial—Steven Guris and Edward Kaiser, Ph.D.

 2   Mr. Guris has a B.S. in software engineering, is the Director of Threat Investigations at Unit 221B,

 3   a cybersecurity firm, and has extensive experience with Destiny 2. He will testify regarding his

 4   analysis Defendants’ Cheat Software loader and the irreparable harm inflicted by the Cheat

 5   Software on Bungie.

 6            Dr. Kaiser has a Bachelor of Applied Science in Computer Engineering and a Ph.D. in

 7   Computer Science, Network Security and is an Engineering Lead and head of Bungie’s Product

 8   Security Team. He has substantial experience, including in connection with his doctoral thesis,

 9   identifying, investigating, and implementing fixes to stop cheaters and other bad actors in Destiny

10   2. Dr. Kaiser also wrote portions of the code for Destiny 2, including code that interacts with

11   player inputs and player and combatant positioning data structures, and is intimately familiar with

12   the game and its operation.

13   B.       Defendants’ History of Cheat Development
14            In 2012, David Schaefer, Jeffrey Conway, and Jordan Green formed and became equal 1/3

15   owners of Phoenix Digital Group LLC (collectively referred to as the “Phoenix Digital

16   Defendants”). Phoenix Digital’s sole business purpose was to develop and sell cheats for video

17   games from websites, including Aimjunkies.com. Although each had full control and authority to

18   manage Phoenix Digital (TX 21 (Phoenix Digital LLC Agreement) ¶ 4.3), generally Conway

19   managed finances, Green performed engineering work (including testing and verifying cheats),

20   and Schaefer acted as the general business manager. Schaefer directed almost all of Phoenix

21   Digital’s actions. Indeed, Conway has testified that he acted at Schaefer’s command, “blindly”

22   and without “exceris[ing] [] independent thought[.]” Schaefer personally controlled every aspect

23   of the cheat sales—communicating with developers, deciding whether to sell a cheat, allocating

24   profits from sales, and deciding when to stop selling a cheat. Bungie will demonstrate that

25   Defendant James May developed cheats for Phoenix Digital and shared in profits from Phoenix

26   Digital’s sales. Mr. May will testify that, at all relevant times, May had no other income and

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 1   distributed cheats he developed only through Phoenix Digital and its websites, including

 2   AimJunkies.com.

 3            For cheats developed by May and sold through AimJunkies.com, Schaefer, Conway,

 4   Green, and May each shared the profits. May received 50%, and Schafer, Conway, and Green

 5   split the remaining 50% evenly. Those profits were substantial: Defendants sold nearly $1 million

 6   in cheats from 2019 - 2020 alone.

 7   C.       Defendants Developed the Cheat Software
 8            The evidence will show that Defendants developed the Cheat Software throughout 2019.

 9   In or around October 2019, May began reverse engineering Destiny 2 using a variety of tools,

10   including Phoenix Digital’s “in-house tool” that it provided to cheat developers and that was

11   digitally signed by Phoenix Digital with credentials provided by Schaefer. See TX 138. May will

12   admit that he was reverse engineering Destiny 2 in order to help develop a cheat for Destiny 2.

13            Bungie will present evidence that Defendants continually updated the Cheat Software,

14   releasing at least three versions. In November 2019, Phoenix Digital announced it would soon be

15   releasing a cheat for Destiny 2. TX 72.002 (Phoenix Digital promotional email). On or around

16   December 17, 2019, Phoenix Digital released its first version with an “Extra-Sensory Perception”

17   (“ESP”) feature, allowing cheaters to see through walls. TX 72.010 (Defendants’ promotional

18   email). A few days later, December 23, 2019, Phoenix Digital released a second “full” version of

19   the Cheat Software with new features such as “AIMBOT,” and “One Position Kill” (“OPK”). TX

20   72.012. About one year later, on November 11, 2020, Phoenix Digital released a third version of

21   the Cheat Software for use with Bungie’s new expansion, Destiny 2: Beyond Light. TX 112 (Tweet

22   announcing release of updated Cheat Software). Despite Bungie banning him on numerous

23   occasions, May assisted with all of these versions, repeatedly connected reverse engineering tools

24   to Destiny 2 from October to May 2021, circumventing Destiny 2’s technological protections on

25   at least 100 separate occasions that Bungie detected. TX 138.

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 1   D.       How the Cheat Software Operates

 2            Defendants’ Cheat Software gives cheaters an unfair advantage by adding unauthorized

 3   features, including ESP, AIMBOT, and OPK. Defendants admit that the Cheat Software includes

 4   these features and what they do (e.g., see through walls). Defendants otherwise claim to not know

 5   how the Cheat Software and its loader operates. Only Bungie’s experts, Dr. Kaiser and Mr. Guris,

 6   can and will testify about how the software operates, and Defendants did not and cannot refute this

 7   testimony.

 8            1.    The ESP Cheat Feature

 9            The ESP feature allows cheaters to see the location of other players and non-player

10   characters, including through solid walls. As illustrated in the screenshots below, the Cheat

11   Software displays a box around the other players with their names and distance from the cheater.

12                                            Normal Player’s View

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20                             Player’s View Using Defendants’ Cheat Software

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 1            Dr. Kaiser will testify regarding how the developer of the Cheat Software infringed

 2   Bungie’s copyrights and violated the LSLA, including by accessing a local copy of the client

 3   software of Destiny 2 to reverse engineer it, copying code, and making derivative works. Mr. May

 4   will confirm that he did, in fact, accessed and reverse engineered Destiny 2 many times.

 5            Dr. Kaiser will testify regarding how the Cheat Software itself necessarily infringes in

 6   order to function. In order to display player locations, the Cheat Software must copy and modify

 7   Bungie’s copyrighted computer software. In particular, to enable the ESP feature, Defendants

 8   copied the code related to the data structures for player positioning and rendering and reverse

 9   engineered that code.3 Defendants then incorporated derivatives of the copied code into the Cheat

10   Software. When in use, the Cheat Software creates a modified version of the visual display.

11   Cheaters run a copy of Destiny 2 on their computers while also running a copy of the Cheat

12   Software; the Cheat Software injects its code into (i.e., runs its software code inside) the Destiny

13   2 game engine; the injected code extracts the normally-inaccessible data about player positioning

14   and manipulates the rendering data; and the Cheat Software then utilizes the game’s camera and

15   display functions to display the boxes and player information to the cheaters.

16            Each time Bungie updated its code, Defendants updated their Cheat Software to enable its

17   functionality with the updated code, creating new copies of the data structures and software code

18   and incorporating them into the updated Cheat Software. At a minimum, Defendants updated their

19   Cheat Software (a) on or around December 23, 2019 when they released the “full” version of the

20   cheat (TX 72.012) and (b) on or around November 11, 2020 when they released a version for the

21   Destiny 2: Beyond Light expansion (TX 112).

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26             Bungie employs measures to obfuscate this code from would-be attackers with a form of encryption that
     could not have been broken but for Defendants’ copying and reverse engineering against that code.

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 1            2.     The AIMBOT Cheat Feature

 2            Accuracy is also an essential skill in a first-person shooter game like Destiny 2. The

 3   AIMBOT feature allows cheaters to aim weapons automatically and accurately (i.e., without

 4   movement of the mouse and/or controller joystick), also providing a hugely unfair advantage.

 5            Dr. Kaiser will explain that, as with the ESP feature, to provide the AIMBOT feature,

 6   Defendants copied the code related to the data structures for player positioning (i.e., the target at

 7   which the player aims their weapon), reverse engineered the Destiny 2 software code that

 8   calculates the angle deltas for mouse movements (i.e., software code used to calculate how far the

 9   weapon cursor moves in Destiny 2 in response to inputs), and then incorporated code derived from

10   the copies into the Cheat Software. The Cheat Software also injects code into the game engine

11   that allow the AIMBOT feature to function. And, like the ESP feature, Defendants made additional

12   copies of Bungie’s software code to keep the AIMBOT feature working with the updated versions

13   of Destiny 2.

14            3.     The One Position Kill Cheat Feature

15            The OPK feature shortcuts Destiny 2’s skill-based combat progression by allowing cheaters

16   to move other players and characters to a single position so that the cheater can damage them all

17   at once. Like the Cheat Software’s other features, to enable OPK, Defendants copied the code

18   related to the data structures for player positioning and combatant positioning to permit reverse

19   engineering; incorporated cheat code derived from the copied code into the Cheat Software; and

20   injected that cheat code that modifies player input data structures and functionalities into Destiny 2

21   on the cheaters’ computers. Similarly, Defendants updated the Cheat Software to reflect Bungie’s

22   updates to Destiny 2.

23            4.     The Cheat Loader

24            Cheat Software users must also download a loader from AimJunkies.com. As Mr. Guris

25   will explain, the cheat loader—a third party product that Defendants distributed with the purchase

26   of the Cheat Software—injects the Cheat Software into the Destiny 2 process, allowing the cheat

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 1   to operate within and modify Destiny 2. Each cheater had to download Defendants’ loader. Like

 2   malware, Defendants’ loader requires extremely broad access to the cheater’s computer to operate.

 3   Defendants’ loader also circumvented Bungie’s copyright protections by injecting code into the

 4   Destiny 2 process.

 5   E.       Defendants Profited from their Malicious Conduct and Harmed Bungie
 6            Due to Defendants’ spoliation, the true number of Cheat Software sales cannot be known.

 7   But from the records that Defendants did not destroy and those produced by third parties,

 8   Defendants sold a minimum of 1,406 copies of the Cheat Software, totaling over $43,210 in sales.

 9   Each Defendant received a portion of the Cheat Software revenue.

10            In addition to profiting from their actions, Defendants’ Cheat Software also directly harmed

11   Bungie. Mr. Guris will testify regarding his opinions that cheaters poison the experience for

12   legitimate players and devalue the larger ecosystem built around an online live-service multiplayer

13   game such as Destiny 2, where retention of invested players is paramount. Even a small number

14   of cheaters drives away retained players and drops the popularity of a game among new players.

15            Here, Bungie’s Destiny 2 player base has been harmed by Defendants’ conduct. Bungie

16   recorded more than 6,000 complaints about players using the Cheat Software and spent millions

17   of dollars combatting cheaters and cheat developers such as Defendants in order to protect its

18   player base. TX 136.

19   F.       May’s DMCA Counterclaim
20            May alleges that Bungie circumvented technological protections on his computer to access

21   certain files. May admits to and was found liable for violating the DMCA anti-circumvention

22   provision by reverse engineering Destiny 2. Dr. Kaiser will testify that when May connected

23   reverse engineering tools to the Destiny 2 process, or ran processes on his computer at the same

24   time as Destiny 2, the Destiny 2 process obtained metadata (e.g., file headers containing file path

25   information) and recorded an MD5 hash—a string of numbers and letters that serves as a unique

26   identifier or digital watermark—of those tools and programs that May was using. Incredibly, May

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 1   now asserts that Bungie’s discovery of his reverse engineering—which was held to violate the

 2   DMCA anti-circumvention provision—somehow shows that Bungie circumvented May’s

 3   technological protections. The conduct of which May complains, however, was simply the Destiny

 4   2 process identifying malicious programs that were connected or running parallel to it, like May’s

 5   reverse engineering tools.

 6            May will admit that he also agreed to Bungie’s collection of this data by accepting Bungie’s

 7   Limited Software License Agreement (“LSLA”) which incorporates by reference Bungie’s

 8   Privacy Policy. TX 20 (LSLA); TX 205 (Bungie’s Privacy Policy). May will also admit that he

 9   changed the names of reverse engineering files on his computer, on the assumption that those file

10   names could be detected by video game developers. By agreeing to the Privacy Policy, May

11   consented to Bungie “collect[ing] Personal Information about you and your use of the Bungie

12   Services via automated means, such as through cookies, web beacons and similar technologies,”

13   including information such as, but not limited to:

14                    Bungie Services Use Data, including information about your use of the Bungie

15                     Services, the pages and content that you view, the referring and existing pages, your

16                     access times, the links you click, and other actions taken within the Bungie

17                     Services.

18                    Device Data, including information regarding your device, such as device type,

19                     operating system type, browser type, device regional and language settings, IP

20                     address, and device ID (such as IDFA or AAID).

21            TX 205 at 4. This information is collected by Bungie to, among other reasons, “prevent

22   fraudulent use of the Bungie Services,” “enforce our Terms of Use [and] our legal rights,” and

23   “prevent or address potential or actual injury or interference with our rights, property, operations,

24   users or others who may be harmed or may suffer loss or damage.” Id. at 6. To collect data that

25   is helpful in preventing fraudulent uses of the Bungie Services and in protecting Bungie’s

26   intellectual property rights, Destiny 2 detects potentially malicious processes that can interfere

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 1   with Destiny 2, such as cheat software or reverse engineering tools, computes an MD5 hash of the

 2   corresponding files as a unique file-identifier, and reports the MD5 hash to Bungie, if queried.

 3                                         III.   LEGAL ISSUES
 4   A.       Bungie’s Copyright Infringement Claims
 5            Bungie asserts three theories for copyright infringement: (1) Defendants directly infringed

 6   Bungie’s copyrights in Destiny 2 in their development and distribution of the Cheat Software; (2)

 7   Defendants contributorily infringed when they distributed the Cheat Software; and (3) Defendants

 8   vicariously infringed when they distributed the Cheat Software. The evidence will show that

 9   Defendants are liable under all three theories, and Bungie is entitled to recover at least $43,210 in

10   damages.

11            1.     Bungie will prove all essential elements of its direct copyright infringement
                     claim.
12
              Bungie must prove two elements to succeed on its direct copyright infringement claim:
13
     (1) ownership of the infringed material and (2) that Defendants violated at least one exclusive right
14
     granted to copyright holders under 17 U.S.C. § 106. Disney Enters., Inc. v. VidAngel, Inc., 869
15
     F.3d 848, 856 (9th Cir. 2017). A copyright owner’s exclusive rights include the rights to reproduce
16
     the copyrighted work, prepare derivative works based on the copyrighted work, and distribute
17
     copies of the copyrighted work. 17 U.S.C. § 106(1)–(4).
18
              The first element is stipulated for trial. Bungie owns four copyright registrations covering
19
     the Destiny 2 computer software code and audiovisual works that Defendants infringed. TX 1-4.
20
     These registrations protect the entirety of the computer software code and audiovisual components
21
     of the Destiny 2 video game and the Destiny 2: Beyond Light expansion. Id. Bungie thus owns
22
     the infringed materials. United Fabrics Int’l, Inc. v. C&J Wear, Inc., 630 F.3d 1255, 1257 (9th
23
     Cir. 2011) (a copyright registration is prima facie evidence of the validity of the copyright).
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 1            As Dr. Kaiser will explain, the evidence will also show that Defendants violated Bungie’s

 2   exclusive rights to reproduce, prepare derivative works from, and distribute copies of its

 3   copyrighted works.

 4            First, to create the Cheat Software, Defendants copied Destiny 2 twice. Defendants copied

 5   certain portions of copyrighted software code from Destiny 2, reverse engineered against that code

 6   to develop derivative cheat code, and incorporated that unauthorized derivative code into the Cheat

 7   Software. Specifically, Defendants copied the data structures that correspond to player and

 8   combatant positioning; and reverse-engineered the code dedicated to the game’s rendering and

 9   calculation of angle deltas for mouse movement; and incorporated a derivative of Bungie’s

10   software code into the Cheat Software. Dr. Kaiser will explain how the Cheat Software’s ESP,

11   AIMBOT, and OPK features could not function without this copied and reverse engineered code,

12   and Defendants could not have successfully reverse engineered against Bungie’s code except by

13   experimentation against an unauthorized copy. That copying infringes Bungie’s copyrights. See

14   Ticketmaster L.L.C. v. Prestige Ent. W., Inc., 315 F. Supp. 3d 1147, 1161 (C.D. Cal. 2018) (“The

15   act of downloading and storing the pages and code of a website qualifies as making a ‘copy’ under

16   the Copyright Act . . . .”). And, in order to create the Cheat Software, Defendants also downloaded

17   copies of the entirety of Destiny 2 software code onto their computers. Defendants did so after

18   breaching LSLA, meaning that their license to access Destiny 2 was terminated. Each download

19   of Destiny 2 after their LSLA was terminated was thus unlicensed, and each copy was an

20   infringement.

21            Moreover, when Defendants updated the Cheat Software to ensure compatibility with

22   Destiny 2 code updates, Defendants copied Bungie’s updated code. Therefore, Defendants

23   infringed Bungie’s exclusive right to copy or reproduce its copyrighted Destiny 2 code, which is

24   alone sufficient for Bungie to prevail on its copyright infringement claim.

25            Second, as has been conclusively determined at the arbitration proceeding, the Cheat

26   Software creates derivative works of Destiny 2 when it operates. This includes derivative works

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 1   based on the software code and the audiovisual works. Adding new features to a video game

 2   infringes the right to create derivative works. See Micro Star v. Formgen Inc., 154 F.3d 1107,

 3   1112 (9th Cir. 1998) (levels of computer game burned onto a CD disk were derivative works in

 4   part because the levels manipulated the game code to create an altered visual display); Dun &

 5   Bradstreet Software Servs., Inc. v. Grace Consulting, Inc., 307 F.3d 197, 208 (3d Cir. 2002); Take-

 6   Two Interactive Software, Inc. v. Zipperer, No. 18 Civ. 2608, 2018 WL 4347796, at *8 (S.D.N.Y.

 7   Aug. 16, 2018) (granting preliminary injunction where cheat developer created an alternative

 8   version of plaintiff’s video game with “added elements that allow its users to use features not

 9   available” in the original game).

10            Here, the Cheat Software injects code into Destiny 2, including into the player positioning

11   and player input data structures; the cheat code then manipulates those structures to create modified

12   versions of the Destiny 2 software code, i.e., derivative works based on the Destiny 2 software

13   code. The Cheat Software also creates modified audiovisual displays when the ESP feature draws

14   boxes around Destiny 2 characters and displays information about those characters. These are also

15   unauthorized derivative works of the Destiny 2 audiovisual copyrighted works.

16            Third and finally, Defendants infringed Bungie’s exclusive right to distribute copies of

17   Destiny 2. As discussed above, Defendants sold more than 1,400 copies of the Cheat Software,

18   which incorporated copies of code derived from Bungie’s copyrighted code. Each sale of the

19   Cheat Software violated Bungie’s distribution right. See Nexon Am., Inc. v. S.H., No. CV 10-9689

20   (JCx), 2011 WL 13217951, at *4 (C.D. Cal. Dec. 13, 2011) (holding that defendant distributed

21   infringing cheat software, which was a modified version plaintiff’s video game software, by

22   uploading it to a website where it was then downloaded by users); see TX 156.003 (Phoenix

23   Digital’s Supp. Resp. to ROG 6) (stating that the Cheat Software passes through a Phoenix Digital

24   computer to the customer’s computer).

25

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 1            2.     Bungie will prove all essential elements of its contributory copyright
                     infringement claim.
 2
              To be liable for contributory infringement, (1) the defendant must have knowledge of direct
 3
     infringement; and (2) either induce, cause, or materially contribute to the infringing conduct.
 4
     Luvdarts, LLC v. AT&T Mobility, LLC, 710 F.3d 1068, 1072 (9th Cir. 2013). “[P]roviding the site
 5
     and facilities for known infringing activity is sufficient to establish contributory liability.” ALS
 6
     Scan, Inc. v. Cloudflare, Inc., No. CV 16-5051 (AFMx), 2018 WL 11350606, at *9 (C.D. Cal.
 7
     Mar. 13, 2018) (quoting Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 264 (9th Cir. 1996)).
 8
              That the Defendants’ customers directly infringed Bungie’s copyrights cannot be
 9
     challenged because, as Judge Cox found, “[t]o operate, the cheats necessarily create unauthorized
10
     copies of the Destiny 2 code and unauthorized derivative works.” TX 167.023 (Final Award).
11
     Defendants sold more than 1,400 copies of their Cheat Software. And Defendants are aware of
12
     the resulting infringement by their customers. TX 72 (advertising features of the Cheat Software
13
     on AimJunkies.com); TX 53 (AimJunkies.com website Destiny 2 cheat information page); see also
14
     TX 67 (AimJunkies.com announcement looking for cheat developers with the “ability to reverse
15
     engineer” video games and knowledge of “anti-cheating strategies”). Defendants will also testify
16
     that they were the direct cause of and encouraged that infringement. See, e.g., TX 72 (promotional
17
     emails). But for Defendants’ creation, advertising, and sale of the Cheat Software, the cheaters’
18
     infringement would not have occurred. Defendants therefore induced, caused, or materially
19
     contributed to the infringing conduct “by advertising and making the [Cheat Software] available
20
     for download on [their] website.” Nintendo of Am., Inc. v. Storman, No. CV 19-7818 (RAOx),
21
     2021 WL 4780329, at *4 (C.D. Cal. Aug. 5, 2021) (defendant contributorily infringed by
22
     distributing infringing copies of video games on his website).
23
              3.     Bungie will prove all essential elements of its vicarious copyright
24                   infringement claim.

25            Liability for vicarious copyright infringement extends to a defendant who “has the right

26   and ability to supervise the infringing activity and also has a direct financial interest in such

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 1   activities.” A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1022 (9th Cir. 2001) (quoting

 2   Fonovisa, 76 F.3d at 262). A financial interest exists where “the availability of infringing material

 3   acts as a draw for customers.” Nintendo of Am., 2021 WL 4780329, at *4. “A defendant ‘exercises

 4   control over a direct infringer when he has both a legal right to stop or limit the directly infringing

 5   conduct, as well as the practical ability to do so.’” Broad. Music, Inc. v. Benchley Ventures, Inc.,

 6   131 F. Supp. 3d 1097, 1103 (W.D. Wash. 2015) (quoting Perfect 10, Inc. v. Amazon, Inc., 508

 7   F.3d 1146, 1173 (9th Cir. 2007)).

 8            Bungie will satisfy both elements. Defendants admit that they have both the right and

 9   practical ability to control their customers’ infringement. Schaefer concedes he made the decision

10   to sell the Cheat Software and had the ability and authority to turn the Cheat Software “off” so it

11   could not be used. In addition, Defendants admit to a direct financial interest in the Cheat

12   Software—generating more than $43,000 in sales from the Cheat Software. And, as advertised by

13   the Defendants, the primary attraction of the Cheat Software were the features ESP, AIMBOT,

14   and OPK, which individually and together infringe Bungie’s copyrights. TX 72 (promotional

15   emails). Therefore, Defendants are vicariously liable for the cheaters’ infringement.

16   B.       May’s DMCA Counterclaim Fails
17            James May asserts a single counterclaim against Bungie under the DMCA, claiming that

18   Bungie hacked May’s computer when it detected May circumventing Bungie’s technological

19   protection measures to create the Cheat Software for Destiny 2. The evidence will show that May’s

20   counterclaim fails for multiple reasons. Under the DMCA, May must prove by a preponderance

21   of the evidence that (1) he employs technological measures that effectively control access, (2) to

22   May’s works that are protected by copyright, and that (3) Bungie circumvented those technological

23   measures. 17 U.S.C. § 1201(a)(1)(A). May cannot meet this burden.

24

25

26

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 1            1.    None of the files Bungie allegedly accessed were works protected by
                    copyright.
 2
              First, the evidence will show that May does not own any works that are protected by
 3
     copyright. “To the extent the [plaintiff’s software] is not a ‘work protected under [the copyright
 4
     statute,]’ . . . the DMCA necessarily would not protect it.” Lexmark Int’l, Inc. v. Static Control
 5
     Components, Inc., 387 F.3d 522, 550 (6th Cir. 2004) (second alteration in original). May identifies
 6
     four copyrighted works as protected by technological measures: blah64.exe, reclass.net.exe (a/k/a
 7
     renamedreclass.exe), reclasskernel.sys, and reclasskernel64.pdb. The parties have stipulated to
 8
     the fact that May has not registered these works.
 9
              “In the DMCA context, where a party has not registered its work, the absence of
10
     registration ‘makes it difficult for [a counterclaimant] to succeed on [his] DMCA claim, which is
11
     dependent on proof of a valid copyright.’” Point 4 Data Corp. v. Tri-State Surgical Supply &
12
     Equip., Ltd., No. 11-CV-726, 2013 WL 4409434, at *17 (E.D.N.Y. Aug. 2, 2013) (quoting Jagex
13
     Ltd. v. Impulse Software, 750 F. Supp. 2d 228, 237 (D. Mass. 2010)). In Point 4 Data Corp.,
14
     “because plaintiffs [did] not have a registered copyright in the [software allegedly accessed by the
15
     defendant], the Court [needed to] examine whether plaintiffs [had] adduced sufficient evidence to
16
     establish a genuine issue of fact with respect to the copyrightability of their [s]oftware.” Id. This
17
     is because “not every element [of computer software], whether literal or nonliteral, is automatically
18
     entitled to protection,” but is instead subject to at least three doctrines that “define (and limit) the
19
     scope of copyright protection,” namely, “the exclusion of functional elements, the merger
20
     doctrine[,] and the scenes a faire doctrine.” Id. at *18 (internal footnotes omitted). “Thus, for
21
     computer software to merit copyright protection, it is not enough for the party claiming
22
     protection to show that it independently created a certain number of lines of code. On the
23
     contrary, the Court must undertake a highly complex analysis that typically requires expert
24
     evidence.” Id. (emphasis added). Thus, that court granted the defendant’s motion for summary
25

26

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 1   judgment because “the evidence remaining in the record [was] not sufficient to create an issue of

 2   fact with respect to the copyrightability of the [s]oftware [at issue].” Id. at *20.

 3            This case is highly similar to Point 4 Data. May claims to own copyrights in four files,

 4   relying exclusively on his assertion that he created the files or added functionality thereto. But the

 5   evidence will show that May’s claim to copyright protection is unsupported by any other evidence.

 6   He will testify that he has no copyright registrations; he offers no expert opinions on the issue; and

 7   he has failed to demonstrate whether any portion(s) of his code overcome the functionality, merger,

 8   and/or scenes a faire doctrines. May cannot meet this element of his DMCA claim to show that

 9   his works are protected by copyright.

10            2.      Bungie did not circumvent May’s technological measures
11            The evidence will also show that May’s DMCA claim fails because Bungie did not

12   “circumvent” any of May’s technological measures. “‘[C]ircumvent a technological measure’

13   means to descramble a scrambled work, to decrypt an encrypted work, or otherwise avoid, bypass,

14   remove, deactivate, or impair a technological measure, without the authority of the copyright

15   owner.” 17 U.S.C. § 1201(a)(3)(A). As relevant here, May claims to employ two types of

16   technological measures: two firewalls (one associated with his router, one on his computer) and

17   two layers of passwords (one to log onto his machine, another that protects his work files). And

18   May asserts two circumvention “theories”: (1) that Bungie allegedly misled May regarding what

19   information Bungie would collect from him, thus bypassing May’s technological measures, and

20   (2) that Bungie “avoided” May’s technological measures, although May cannot explain how

21   Bungie did so.

22            May’s first theory fails for two reasons. As a threshold matter, “misleading” is not

23   circumvention under the DMCA: “using deception to gain access to copyrighted material is not

24   the type of ‘circumvention’ that Congress intended to combat in passing the DMCA.” Dish

25   Network L.L.C. v. World Cable Inc., 893 F. Supp. 2d 452, 464 (E.D.N.Y. 2012) (denying plaintiff

26   leave to file second amended complaint with DMCA claim in which plaintiff alleged defendant

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 1   obtained access to decrypted signals through “fraud and deceit”); see, e.g., Adobe Sys. Inc. v. A &

 2   S Elecs., Inc., No. C 15-2288, 2015 WL 13022288, at *8 (N.D. Cal. Aug. 19, 2015) (granting

 3   motion to dismiss DMCA claim where only alleged act of circumvention was unauthorized

 4   distribution of otherwise genuine software license keys); TLS Grp., S.A. v. NuCloud Glob., Inc.,

 5   No. 15-CV-00533, 2016 WL 1562910, at *9 (D. Utah Apr. 18, 2016). Thus, Bungie’s alleged

 6   “deceit and subterfuge,” is not actionable. And in any event, there was no misrepresentation about

 7   the information Bungie collected from May.

 8            May’s second theory—the unexplained “avoiding” of his technological measures—fails

 9   by his own admissions. The evidence will show that May downloaded Bungie’s Destiny 2 video

10   game onto his computer. When he did so, May granted Destiny 2 permissions sufficient to access

11   his computer through both of his firewalls, including “private access” through his Windows

12   Firewall, broad access to the processes running at the same time as Destiny 2, and in particular to

13   processes that attached to the Destiny 2 game. When May granted Destiny 2 this access, he knew

14   that it can access anything on May’s computer while Destiny 2 is running. Thus, because May

15   gave Bungie permission, it never had to circumvent any of May’s firewalls. Bungie similarly

16   never avoided May’s passwords. May downloaded Destiny 2 onto his computer, and so Bungie

17   could not have “avoided” May’s Windows login password. As to his password-protected work

18   files, May had already opened and begun running them while Destiny 2 was running, so again

19   Bungie did not avoid those passwords. Bungie did not circumvent May’s technological protection

20   measures, and Bungie’s motion should be granted.

21            3.    May consented to Bungie’s access
22            Because May authorized Bungie to access his computer and view or obtain certain

23   information, his DMCA claim fails.

24            Here, Bungie will demonstrate that May expressly authorized Bungie’s access to his

25   computer when he accepted Bungie’s Privacy Policy. Under the Privacy Policy, Bungie is

26   authorized to collect device data necessary to prevent fraudulent or malicious activity, including

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 1   files open and information about processes operating on a user’s device while using Destiny 2. TX

 2   205. May alleges that Bungie accessed only the files listed in the documents attached to his

 3   amended counterclaims. TX 138. But Bungie detected these files only because May opened them

 4   while running Destiny 2, and while he was reverse engineering Destiny 2. Bungie collected

 5   precisely what the Privacy Policy disclosed: information about May’s device and his use of

 6   Bungie’s services to detect fraudulent and infringing conduct.

 7            May’s conduct reinforces his consent. To avoid getting banned from Destiny 2 while using

 8   his reverse engineering tools, May changed the names of the files he was using because he knew

 9   Destiny 2 could read them. Indeed, May admits that for at least one of his files, he “might have

10   just renamed the actual file for Destiny 2” because “some anti-cheats check for the name of the

11   executable that’s running.” May consented to Destiny 2’s alleged accessing of his files, and so his

12   DMCA claim must fail.

13                                     IV.    EVIDENTIARY ISSUES
14            Bungie has raised its significant evidentiary issues in its Motion in Limine (Dkt. No. 205),

15   and has further objected to specific trial exhibits intended to be offered by Defendants, as explained

16   in the Proposed Pretrial Order.

17                           V.      DAMAGES AND INJUNCTIVE RELIEF
18   A.       Bungie Is Entitled to At Least $43,210 in Damages
19            An infringer is liable for either “(1) the copyright owner’s actual damages and any

20   additional profits of the infringer, or (2) statutory damages.” 17 U.S.C. § 504(a). Here, Bungie

21   has elected to pursue the former. In calculating these damages, Bungie is “entitled to recover the

22   actual damages suffered by [Bungie] as a result of the infringement, and any profits of

23   [Defendants] that are attributable to the infringement and are not taken into account in computing

24   the actual damages.” 17 U.S.C. § 504(b). Bungie is required to present proof only of Defendants’

25   gross revenue, and Defendants must profit their deductible expenses and elements of profits

26   attributable to factors other than their infringement. Id.

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 1            Here, Defendants’ total profits from the Cheat Software are unknown because Defendants

 2   deleted financial records relating to the sales of the Cheat Software and website records that would

 3   show the number of copies of the Cheat Software sold. Dkt. No. 216. From the limited records

 4   that Defendants produced and that Bungie obtained from third parties, Defendants sold at least

 5   1,406 copies of the Cheat Software, totaling over $43,210 in sales. But Defendants’ true revenue

 6   and profits are a mystery—even to Defendants. Defendants themselves have represented different

 7   amounts in revenue generated from the sales of Cheat Software throughout this litigation. TX 145

 8   (Dkt. No. 28-5) (“During the entire life of the products [Bungie] refers to as ‘cheat software,’

 9   overall sales of the products were $27,748.00 and Phoenix Digital Group’s gross profits on these

10   sales amounted to $13,874.”). Because Defendants intentionally deleted evidence that would show

11   the total volume of sales and gross revenues from the Cheat Software, the jury may presume that

12   this evidence was unfavorable to Defendants, and Bungie requests $43,210 in total damages owed

13   to Defendants’ profits.

14   B.       Bungie Is Entitled to a Permanent Injunction
15            A permanent injunction is available under the Copyright Act. See 17 U.S.C. § 502(a).

16   Courts apply a four-factor test in determining whether to grant an injunction. eBay Inc. v.

17   MercExchange, L.L.C., 547 U.S. 388, 391 (2006); Microsoft Corp. v. Buy More, Inc., 136 F. Supp.

18   3d 1148, 1158 (C.D. Cal. 2015), aff’d, 703 F. App’x 476 (9th Cir. 2017). Specifically, courts

19   examine whether (1) the plaintiff has suffered irreparable injury; (2) there is an adequate remedy

20   at law; (3) a remedy in equity is warranted, considering the balance of hardships between the

21   plaintiff and the defendant; and (4) it is in the public’s interest to issue the injunction. Id. Each

22   factor weighs in favor of an injunction.

23            Moreover, Defendants’ distribution of the Cheat Software has caused Bungie irreparable

24   harm for which there is no adequate remedy at law to its game community and player base. As Mr.

25   Guris will explain, the presence of cheaters within the Destiny 2 game environment damages

26   Bungie, poisons the well for players and content creators, and creates an unsustainable and unsafe

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 1   environment for legitimate players. The third and fourth factors likewise support granting a

 2   permanent injunction. The balance of hardship favors an injunction where, as here, the injunction

 3   would merely prohibit Defendants from infringing Bungie’s copyrights. Microsoft Corp., 136 F.

 4   Supp. 3d at 1158 (citing Polo Fashions, Inc. v. Dick Bruhn, Inc., 793 F.2d 1132, 1135-36 (9th Cir.

 5   1986)). Moreover, Defendants assert they have sold AimJunkies.com and no longer distribute the

 6   Cheat Software; thus, an injunction does not cause them any prejudice. However, the threat of

 7   Defendants continuing to sell the Cheat Software—or to develop a new cheat for Destiny 2—

 8   remains highly likely without an injunction. May continues to develop cheats for Phoenix Digital,

 9   and Phoenix Digital continues to be involved with the AimJunkies website. Finally, the public

10   interest is served by upholding the rights provided under the Copyright Act. Sennheiser, 2013 WL

11   3811775, at *11; Buy More, Inc., 136 F. Supp. 3d at 1159.

12   C.       Bungie Is Entitled to Its Attorneys’ Fees and Costs
13            The Copyright Act also authorizes an award of reasonable costs and attorneys’ fees to the

14   prevailing party. 17 U.S.C. § 505. Such an award is warranted under the circumstances here. A

15   court may “freely award fees” to the prevailing party as long as it “seek[s] to promote the

16   Copyright Act’s objectives,” which is designed to encourage plaintiffs to act to protect their

17   copyrights. Hist. Rsch. v. Cabral, 80 F.3d 377, 378-79 (9th Cir. 1996) (citing Fogerty v. Fantasy,

18   Inc., 510 U.S. 517 (1994)). Willful infringement is not a prerequisite for an of award of attorneys’

19   fees, and attorneys’ fees are generally awarded to a prevailing plaintiff as a matter of course. Frank

20   Music Corp. v. Metro-Goldwyn Mayer Inc., 886 F.2d 1545, 1556 (9th Cir. 1989). Bungie should

21   also recover its attorneys’ fees on May’s DMCA counterclaim, which permits the court to award

22   reasonable attorneys’ fees to the prevailing party. 17 U.S.C. § 1203(b)(5).

23   D.       May Is Not Entitled to Any Relief on His Counterclaim
24            In the unlikely event May prevails on his DMCA claim, he should recover little, if any,

25   damages. The DMCA authorizes the court to award the claimant’s actual damages or statutory

26   damages. 17 U.S.C. § 1203(c)(1). If the claimant requests actual damages, the court may award

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 1   “his actual damages suffered by the party as a result of the violation, and any profits of the violator

 2   that are attributable to the violation and not taken into account in computing actual damages.” 17

 3   U.S.C. § 1203(c)(2). If the claimant elects statutory damages, the court may award anywhere from

 4   $200 up to $2,500 per act of circumvention, “as the court considers just.”                       17 U.S.C.

 5   § 1203(c)(3)(A). Among other factors that may be considered in setting statutory damages, the

 6   statutory damages should bear a plausible relationship to the actual damages suffered by the party.

 7   Craigslist, Inc. v. Doe 1, No. C09-4739 SI (BZ), 2011 WL 1897423, at *5 (N.D. Cal. Apr. 25,

 8   2011).

 9            Here, May “evidence” of his actual damages is highly suspect and, in any event, the actual

10   damages he claims to have suffered are minimal. May claims that as a result of Bungie’s access

11   to his computer he spent $2,702 to purchase new computers and drives, and spent in excess of 40

12   hours reviewing his files for indications of compromise, valued at $75 per hour. But May readily

13   admits that none of his computer components that he replaced were actually damaged or corrupted

14   by Bungie. May also did not record (contemporaneously or otherwise) the supposed 40 hours he

15   spent reviewing files, and his $75 per hour valuation of his time is based on his own undocumented

16   telephonic “survey” of seven or eight unidentified computer technicians and consultants in Ohio.

17   And even if May’s evidence of harm is to be believed, it amounts to $5,702 in “harm.” Any award

18   of actual or statutory damages should be limited to no more than the actual harm May alleges to

19   have suffered.

20                                         VI.     CONCLUSION
21            For the reasons discussed above, the evidence to be presented at trial will show that Bungie

22   is entitled to recover at least $43,210 on its copyright infringement claims, in addition to Bungie’s

23   attorneys’ fees and costs and injunctive relief against Defendants. The evidence presented at trial

24   will also show that Bungie is not liable for violation of the DMCA, as alleged by James May.

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      BUNGIE’S TRIAL BRIEF – 21                                                   Perkins Coie LLP
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     Dated: November 9, 2023
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